                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                    CRIMINAL CASE NO. 3:08-CR-00134-2-RJC-DSC


 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                                                    )                   ORDER
 v.                                                 )
                                                    )
 ALEJANDRO UMANA,                                   )
                                                    )
                   Defendant.                       )



         THIS MATTER is before the Court on the “Application for Admission to Practice Pro

Hac Vice [for Zandra L. Lopez] and Motion for Waiver of Fee” (document #1623) filed July 16,

2015.


         The Motion for Waiver of Fee is denied.


         For the reasons set forth therein, and upon payment of the admission fee, the Application

for Admission to Practice Pro Hac Vice will be granted.


         The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Robert J. Conrad, Jr.


         SO ORDERED.
                                          Signed: July 16, 2015




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